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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



BONITA EHADLAM-CLARKSON                    :      CIVIL ACTION
              Plaintiff                    :
                                           :
              v.                           :
                                           :
CIGNA CORPORATION et al.                   :      NO. 20-4068
              Defendant(s)                 :


                       NOTICE OF TELEPHONE CONFERENCE

       A TELEPHONE CONFERENCE in the above matter has been scheduled for

November 2, 2020 at 2:00 p.m. with the Hon. Gene E.K. Pratter, United States Courthouse, 601

Market Street, Philadelphia, PA 19106.

       Parties are instructed to telephone 571-353-2300 and enter code 553869384# to be

connected with the Judge.



                                                         s/Susan Flaherty
                                                         SUSAN FLAHERTY
                                                         Civil Courtroom Deputy
                                                         to the Honorable Gene E.K. Pratter
                                                         United States District Court Judge




Date of Notice: October 28, 2020
Copies sent via ECF notification
